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                             THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

    ERIC MEYER, et al.,

               Plaintiffs,

               v.                                                   Case No. 2:24-CV-02122-DDC-GEB

    CITY OF MARION, et al.,

               Defendants.

DEFENDANTS JEFF SOYEZ, AARON CHRISTNER AND THE BOARD OF COUNTY
COMMISSIONERS OF THE COUNTY OF MARION’S RESPONSE TO PLAINTIFFS’
    RESPONSE TO SHOW CAUSE ORDER REGARDING CONSOLIDATION

         COME NOW, the Defendants Jeff Soyez, Aaron Christner, and the Marion County Board of

County Commissioners (“the Sheriff Defendants”), by and through Jeffrey M. Kuhlman of the law

firm of Watkins Calcara, Chtd., their attorney, and submit this reply to both the Court’s Notice and

Order to Show Cause (Doc. 27) and Plaintiffs’ response to the same. In support of this reply, the

Sheriff Defendants state as follows:

         1.         None of the Sheriff Defendants are named as defendants in the matter of Gruver v.

Cody, et al., 23-1179-DDC-GEB. The Sheriff Defendants 1 are Defendants in Zorn v. Cody, et al., 24-

2044-DDC-GEB, Bentz v. Cody et al., 24-2120-DDC-GEB, and this matter. The Sheriff Defendants,

along with Steven Janzen, another Sheriff’s Deputy, are also defendants in the recently filed matter of

Herbel v. Cody, et al., 24-2224-HLT-TJJ. All of these cases arise out of a common set of facts and

involve common questions of law.

         2.         The Sheriff Defendants either have filed motions to dismiss, or intend to file motions

to dismiss, in all of the above cases in which they are named Defendants. In each of these motions,

the individual Sheriff Defendants will raise the defense of qualified immunity on claims brought


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 Meaning Soyez and Christner in their individual capacities, as well as Soyez in his official capacity and/or the
Board of County Commissioners.


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against them in their individual capacity.

        3.      The Sheriff Defendants are also seeking dismissal with prejudice of all claims brought

against the Sheriff in his official capacity and/or the Board of County Commissioners.

        4.      The Sheriff Defendants agree that consolidation of the above-referenced cases for

purposes of discovery is appropriate and have no objection to the same.

        5.      However, the Sheriff Defendants intend on filing a motion to stay discovery in each

case. Soyez, Christner, and Janzen all have raised, or intend to raise, qualified immunity as a defense.

“Immunity from suit is a broad protection that grants government officials a right, not merely to avoid

standing trial, but also to avoid the burdens of such pretrial matters as discovery. A defendant is

therefore generally entitled to have immunity questions resolved before being required to engage in

discovery. Otherwise, a defendant who is entitled to immunity would be effectively deprived of its

benefit.” Kehler v. Ward, 2022 U.S. Dist. LEXIS 186825, at *5-6 (D. Kan. Oct. 12, 2022) (internal

quotation marks and citations omitted).

        6.      Therefore, although the Sheriff Defendants do not oppose consolidation for purposes

of discovery, they request that discovery be stayed pending the resolution of their pending or

forthcoming motions to dismiss.

        7.      Plaintiffs in this matter have suggested that the governmental entity defendants should

be required to make Rule 26 initial disclosures, citing other cases in which that has been done. The

cases cited by Plaintiffs are distinguishable from this matter. In those cases, one defendant appealed

an immunity question after it had been determined that claims against the non-appealing parties would

move forward regardless of the outcome of that appeal. Bledsoe v. Jefferson Cnty., 2021 U.S. Dist. LEXIS

88411, at *4-5 (D. Kan. May 10, 2021); see also Couser v. Somers, 2019 U.S. Dist. LEXIS 109189, at *9-

10 (D. Kan. June 28, 2019). That is not the case here. In addition to seeking qualified immunity on

behalf of individuals, the Sheriff Defendants have moved to dismiss the claims against the



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governmental entity, as well. Their motions are fully dispositive, and therefore, no claims are

guaranteed to proceed past the dispositive motion stage.

        8.      Furthermore, the cases cited by Plaintiffs presented situations in which the cases were

several years old and discovery had already been stayed for a significant period of time. Bledsoe, 2021

U.S. Dist. LEXIS 88411, at *5-6; Couser, 2019 U.S. Dist. LEXIS 109189 at *7-8. That is not the case

here. These cases are in their infancy, the underlying events occurred less than a year ago, and the

most recent case was filed in the past week. Unlike Bledsoe and Couser, there is not a compelling reason

to piecemeal or bifurcate discovery. Rather, this District’s precedent dictates that a stay of all discovery

is most appropriate. Toney v. Harrod, 2018 U.S. Dist. LEXIS 190468, at *5-6 (D. Kan. Nov. 7, 2018).

        9.      In conclusion, the Sheriff Defendants do not oppose consolidation of claims for

purposes of discovery but request that discovery be stayed pending the resolution of the dispositive

motions they have filed and will file. If the Court is inclined to order Initial Rule 26 Disclosures as

suggested by Plaintiffs, the Sheriff Defendants request that such disclosures be the only discovery

allowed until dispositive motions are ruled on, and that such order apply only to those parties that

have not raised qualified immunity as a defense: each plaintiff, the City, and the County.


                                                  Respectfully submitted,

                                                  WATKINS CALCARA, CHTD.

                                                  /s/      JEFFREY M. KUHLMAN
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                                                           Commissioners of Marion County




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of June, 2024, I electronically filed the above and
foregoing Response by using the CM/ECF system which will send a notice of electronic filing to
registered counsel.

                                                     /s/     JEFFREY M. KUHLMAN
                                                             Jeffrey M. Kuhlman, #26865




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